               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                     CORPUS CHRISTI DIVISION

ANDREW JOSEPH STUBBS,

      Petitioner,                    §

v.                                   §            CIVIL NO. 2:18-CV-289

LORIE DAVIS,                         §

      Respondent.

               AMENDED RESPONSE TO RESPONDENT’S
                MOTION FOR SUMMARY JUDGMENT

      Comes now the petitioner ANDREW JOSEPH STUBBS (Mr. Stubbs), and

files this amended response to the Respondent’s motion for summary judgment, as

follows:

I.    Procedure and Facts

      A.    Introduction

      Mr. Stubbs seeks relief through his petition for a writ of habeas corpus via

28 U.S.C. § 2254.    In turn, the Respondent has made a motion for summary

judgment. To date, the Respondent does not object to the Court’s jurisdiction in

this matter, nor has the Respondent alleged that Mr. Stubbs’ § 2254 petition is

successive, unexhausted or time-barred. The Respondent’s motion for summary

judgment summarizes Mr. Stubbs’ claims and argues against the merits of each

claim. Mr. Stubbs filed a response. As ordered by the Court, Mr. Stubbs, through


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undersigned, court-appointed counsel, herein amends Mr. Stubbs’ response to

Respondent’s motion for summary judgment.           The instant amended response

supplements and does not replace Mr. Stubbs’ previously filed pleadings.

      Mr. Stubbs presents a case of actual innocence and ineffective assistance of

trial counsel that resulted in Mr. Stubbs making an unknowing and involuntary plea

of guilty. But for trial counsels substandard performance, Mr. Stubbs would not

have pled guilty and would have elected to proceed to trial. See, infra.

      B.     Proceedings Below

      Mr. Stubbs is in custody at a TDCJ facility in Beeville, Texas. Mr. Stubbs is

serving his three, concurrent 18-year prison sentences which are the subject of the

instant petition filed pro se by Mr. Stubbs in 2018. A thorough review of the

proceedings below is necessary.

             1.    The Trial Court Preliminary Hearing, Plea of Guilty and

Deferred Adjudication

      The underlying case began with Mr. Stubbs’ October 21, 2015 arrest in

Corpus Christi, Texas on three charges of sexual assault.          ECF 16-2, at 7.

Although Mr. Stubbs reported to the trial court no income or assets, bond was set at

$200,000 on each of the three counts. ECF 16-2, at 7-9, 11. On October 22, 2015,

a Nueces County magistrate appointed attorney Randy Pretzer (Mr. Pretzer) to

represent Mr. Stubbs.     ECF 16-2, at 6. The Nueces County District Attorney

obtained an indictment against Mr. Stubbs on January 15, 2016 in the 319th

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Distirct Court, Nueces County, Texas. ECF 16-2, at 4. The indictment charged Mr.

Stubbs with sexually assaulting a child named L.R. (14 years old at the time) in

three counts—all alleged to have occurred on the same date in October 2015 in

violation of Tex. Pen Code Sec. 22.011. ECF 16-2, at 4. Each count was a second

degree felony.    The Nueces County Assistant District Attorney handling Mr.

Stubbs’ case in the trial court was Rebecca Lake (Ms. Lake). The alleged victim,

L.R. is the child of Mr. Stubbs’ girlfriend, Ann Lopez (Ms. Lopez).

      On January 28, 2016, the alleged victim, L.R., wrote a recantation statement

in which L.R. expressed her remorse for having lied about Mr. Stubbs sexually

assaulting her. ECF 16-4, at 51-52. In the statement L.R. wrote, apparently in her

own hand, that she was with her best friend L.F. and her boyfriend E.LNU. and

told L.F. that she wanted to “get rid” of Mr. Stubbs because he was taking her

mother’s attention. ECF 16-4, at 52. Her friend L.F. went to the counselor’s office

and made an outcry for L.R. that Mr. Stubbs had sexually abused L.R. ECF 16-4,

at 52. L.R. stated that Mr. Stubbs never put a hand on her, that she lied, that L.R.

loves Mr. Stubbs like a dad, and that she is very sorry. ECF 16-4, at 51-52.

      On February 15, 2016, Mr. Stubbs made a request from his confinement in

jail to the trial court to have a bond hearing and stated that he had been in custody

for 115 days, he would like to speak to the district attorney and the judge and that

his lawyer was not answering his calls or the calls from his family. ECF 16-2, at



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68. “I am asking U (sic) for this chance please help me thank you,” in closing Mr.

Stubbs wrote to the trial court. ECF 16-2, at 68.

      The trial court had set an arraignment on February 22, 2016, see, ECF 16-2,

68, 69, and according to the trial court’s docket sheet an arraignment hearing was

held on February 22.     ECF 16-6, at 81.     There is also a note on Mr. Stubbs’

February 15, 2016 inmate communication form suggesting he was indeed

arraigned on February 22. ECF 16-2, at 68. Additionally, although not a part of

the record for this Court, the Nueces County online docket shows that Mr. Stubbs

was arraigned on February 22 with Mr. Pretzer present:




See, https://portal-txnueces.tylertech.cloud/PublicAccess/CaseDetail.aspx?

CaseID=1963463.

      Then, on March 1, 2016, Mr. Stubbs made another request from the jail

addressing the trial court. ECF 16-2, at 70. Mr. Stubbs told the court he wanted to

request “pretrial probation” with an ankle monitor and daily probation visits. ECF

16-2, at 70. Mr. Stubbs complained again that his lawyer was not answering his or

his family’s calls. ECF 16-2, at 70. Mr. Stubbs informed the trial court that he had


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been in custody for 130 days, asked the trial court to “help please” and suggested

the trial court could verify his family’s address and phone number, which he

provided in the request. ECF 16-2, at 70. “My lawyer hasn't done any thing to

help me so I am tring [sic] to do this myself sir please hear me your honor I need to

see you please thank you,” pleaded Mr. Stubbs in the request. ECF 16-2, at 70. In

reply to his request (date unknown), the trial court responded that a hearing was set

on March 21, 2016 and that he could request new counsel at that date. ECF 16-2,

at 70. Noted also on the request form is what appears to be a note to Mr. Prezter

from the trial court to pay Mr. Stubbs a visit. ECF 16-2, at 70.

      On March 17, 2016, Mr. Pretzer filed a motion requesting a reduction in Mr.

Stubbs’ bond. ECF 16-2, at 77-78. The motion for bond reduction contains no

information specific to Mr. Stubbs’ particular circumstances advocating the details

of Mr. Stubbs’ situation. ECF 16-2, at 77-78.

      On March 21, 2016, despite the fact that it appears Mr. Stubbs was arraigned

on February 22, 2016, Mr. Stubbs was arraigned again in open court. ECF 16-9, at

11. Mr. Stubbs informed the court that he still had not received a copy of the

indictment. ECF 16-9, at 4. Mr. Pretzer stated that he himself had received a copy

of the indictment and that “I will go over it with him.” ECF 16-9, at 4. Mr. Pretzer

also stated that he had all of the discovery. ECF 16-9, at 12. Ms. Lake handed the

trial court the “primary discovery packet” and referred the court to the “medical

findings” noting a tear to the anus and “sperm present upon examination of this

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victim.” ECF 16-9, at 5-6.1             Mr. Pretzer then made preliminary inquiries of Mr.

Stubbs regarding his suitability for release on bond but, left his questioning short

and presented no proffer or other witness. ECF 16-9, at 7-8. Mr. Stubbs testified

that he worked as a mechanic in people’s back yards and intended to live at a

trailer park at 4140 Violet Road.2 ECF 16-9, at 7. The parties then discussed with

the trial court that the victim had given a written statement recanting her outcry

against Mr. Stubbs and also the pending results of DNA testing. ECF 16-9, at 9-10.

The trial court thought it could take a year to get the DNA results. ECF 16-9, at 9.

Mr. Pretzer opined it could be another six or seven months from the trial date.

ECF 16-9, at 9.3 Next, and evidently sua sponte, Mr. Pretzer asked the trial court

to re-visit the bond matter because the prosecutor, Ms. Lake, had to take care of a

trial she was involved in. ECF 16-9, at 10. Ms. Lake then stated that Mr. Pretzer

had requested an offer from her on that day. ECF 16-9, at 11. The trial court

suggested that the parties speak to the victim considering that the victim was

giving two completely conflicting sides to the story. ECF 16-9, at 10. The trial

court stated that it would like to know more information before “I do anything with

the case,” “so somebody needs to help me get to the bottom of that.” ECF 16-9, at


1 As explained infra, L.R. never made an outcry of anal penetration and laboratory results later con rmed
there was no sperm present.
2This is the address where Mr. Stubbs was later arrested days after being released on deferred
adjudication probation. This address was a trailer house where numerous adults where staying.
3DPS issued two forensic reports regarding analysis of the swabs taken from L.R. and Mr. Stubbs 1 1/2
and 3 1/2 months from the date of this hearing. See, infra.

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10. Mr. Pretzer stated he had not spoken with the victim and was going to “leave

that with the State.” ECF 16-9, at 11. The trial court then inquired of Ms. Lake:

      Court:       Have you talked to her? Have you brought her in?

      Ms. Lake:    I had her contacted yes — I’m sorry, not yesterday but

      last week, just to notify her of this hearing, but I wanted to see the

      results of the hearing before I update her on the status of the case.

ECF 16-9, at 11. Ms. Lake had not spoken to L.R. The trial court asked Ms. Lake

to find out the status of the DNA results and that the court would not be opposed to

the victim being called at the next hearing. ECF 16-9, at 11. Ms. Lake stated that

she would “look into” the timing of the DNA laboratory results and if the “case has

even been assigned to an analyst.” ECF 16-9, at 10.

      Mr. Stubbs pled guilty at the next hearing on April 7, 2016. ECF 16-10, at 1.

On the same day, just before lunch at 11:45 am, Ms. Lake made contact with L.R.

and L.R.’s mother as memorialized in Ms. Lake’s notes.             ECF 16-4, at 48.

However despite the exculpatory evidence aware to both sides at the time of the

plea, see, infra, Ms. Lake’s notes of her contact with L.R. and her mother are void

of any inquiry as to the validity of L.R.’s recantations and the truth of the

allegations. ECF 16-4, at 48. L.R.’s mother, Ms. Lopez said that she has moved

on and has a new boyfriend and that she no longer wants to see Mr. Stubbs. ECF

16-4, at 48. L.R. said that she agreed with her mother and no longer wants to see



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Mr. Stubbs either. ECF 16-4, at 48. Ms. Lake’s note detailed that L.R. enjoys

choir and art classes. ECF 16-4, at 48.

      The trial court’s plea colloquy began with:

      The Court: … Mr. Stubbs, have you gone over with your attorney —

      Mr. Stubbs: Yes, sir.

      The Court: — regarding the charge pending against you in the

      indictment? Yes?

      Mr. Stubbs: Yes, sir. At this point I just want my life back.

ECF 16-10, at 5. The court informed Mr. Stubbs that he would have “duty to

report that would last for as long as the rest of your life.” ECF 16-10, at 7. Mr.

Stubbs responded that he understood that. ECF 16-10, at 7. Ms. Lake stated she

had spoken to the mother and L.R. and that the mother was present in court and

supported the plea bargain. ECF 16-10, at 7. Ms. Lake told the trial court that

L.R. told her that L.R. never wants to see Mr. Stubbs again. ECF 16-10, at 10.

The trial court sentenced Mr. Stubbs to 10 years’ deferred adjudication probation

along with several conditions including being placed on the sex offender caseload

and no contact with the victim or the victim’s family. ECF 16-10, at 9.

             2.     The Evidence in the Judicial Confession

      The State’s evidence made part of the record at the guilty plea is contained

in the judicial confession, is as follows, in pertinent part.



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      On October 21, 2015, police dispatched to Driscoll Middle School in Corpus

Christi, Texas regarding L.R.’s outcry against Mr. Stubbs. ECF 16-15, at 7. L.R.

was speaking to a counsel at the school and said that Mr. Stubbs sexually assaulted

her the day before. ECF 16-15, at 12. L.R. had made an outcry to another student

who spoke to a coach about it before L.R. spoke to the counselor. ECF 16-15, at

33. CPS was informed and police went to the residence were Mr. Stubbs resided

with L.R. and L.R.’s mother, Ms. Lopez, and arrested Mr. Stubbs. ECF 16-15, at

12, 33. With Mr. Stubbs’ consent, police searched the residence taking photos and

collecting evidence.    ECF 16-15, at 12, 19.       Police collected various items

including a cellphone and swabbed the area of the alleged assault. ECF 16-15, at

16-17.    The living conditions in the house were “substandard for human

occupation.” ECF 16-15, at 19.

      The Child Advocacy Center (CAC) interviewed L.R. that same day. L.R.’s

story starts with her stepdad, Mr. Stubbs, approaching her in the kitchen, giving her

a tight hug and would not let go. ECF 16-15, at 33. Mr. Stubbs then took her to the

living room, fingered her vagina and performed oral sex on her. ECF 16-15, at 33.

Mr. Stubbs then laid her on the floor and penetrated her vagina with his penis.

ECF 16-15, at 33. L.R. stated that these sexual acts occurred with her clothes on

and that she was wearing shorts and a muscle shirt. ECF 16-15, at 73. L.R. stated

that Mr. Stubbs used a tear in L.R.’s shorts to finger her and that he lifted up her

shorts in order to perform oral sex. ECF 16-15, at 73. L.R. stated she had never

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had sexual intercourse before this assault. ECF 16-15, at 33. A few days prior to

this assault, Mr. Stubbs had asked to lick her vagina. ECF 16-15, at 33.

      Police interviewed Mr. Stubbs. Mr. Stubbs waived his Miranda warnings

and consented to giving his DNA. ECF 16-15, at 33. Mr. Stubbs immediately

denied the allegations. ECF 16-15, at 33. Mr. Stubbs stated that L.R. was a virgin

and that “the proof is right there in the swabs.” ECF 16-15, at 33. Mr. Stubbs also

added that he had a good relationship with the children in the household but, he

kept catching L.R. communicating with men. ECF 16-15, at 33.

      Police interviewed L.R.’s mother, Ann Lopez (Ms. Lopez).             Ms. Lopez

stated she never leaves L.R. alone with Mr. Stubbs and does not understand how

this could have happened. ECF 16-15, at 34. Ms. Lopez reiterated Mr. Stubbs’

statement that L.R. has been communicating with men. ECF 16-15, at 34.

      L.R. was given a SANE exam on October 21, 2015. The report of the exam

gives L.R.’s statement regarding the assault. L.R. states Mr. Stubbs hugged her in

the kitchen, took her to the living room, pulled down L.R.’s shorts and underwear,

fingered her vagina, performed oral sex on L.R., then penetrated her vagina with

his penis. ECF 16-15, at 34. L.R. stated she went to her bedroom and started

cutting her forearm with a box cutter. ECF 16-15, at 34. When L.R. was 11 years

old Mr. Stubbs told her he had a crush on her and tried to kiss her and “after that he

never did anything until last night.” ECF 16-15, at 34. The SANE report gives

results of a vaginal Christmas tree stain which had “no spermatozoa present.” ECF

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16-15, at 98.   However, a vaginal wet prep test was performed and reported

“spermatozoa present.” ECF 16-15, at 99. In her statement during the SANE

exam, L.R. stated that she was wearing a muscle shirt, shorts and underwear, and

that Mr. Stubbs pulled down her shorts and her underwear and started fingering

her. ECF 16-15, at 115. This was inconsistent with her video statement at the

CAC that she did not have underwear on and that Mr. Stubbs did not pull down or

remove her clothing. See, supra. L.R. was reported to be menstruating at the time

of the exam. ECF 16-15, at 115. L.R. did not report that she vomited after the

assault. ECF 16-15, at 106, 115. However, L.R. told CPS that she had vomited

after the assault. ECF 16-15, at 62. The only trauma noted in the exam was a .5

cm. tear at the anus. ECF 16-15, at 117. The SANE nurse stated there was not an

outcry regarding anal penetration. ECF 16-15, at 73. Multiple swabs were taken

of L.R. for laboratory testing. ECF 16-15, at 119.

      Police interviewed L.R.’s classmate, L.F., who stated that L.R. whispered to

her that L.R.’s stepfather raped L.R. ECF 16-15, at 36. L.F. then informed a coach

at the middle school. ECF 16-15, at 36.

      There are reports from the Texas Department of Family and Protective

Services (CPS) in the discovery packet. ECF 16-15, at 48. L.R.’s statement in the

CPS records includes that on the Sunday before this assault, Mr. Stubbs wanted to

lick L.R.’s vagina, her sister walked in, L.R. told her mother about it and L.R.’s

mother said that she would kick Mr. Stubbs out of the house “if he did anything.”

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ECF 16-15, at 51. The CPS record notes lacerations on L.R.’s arm, that L.R. stated

she had been cutting herself since the first outcry and that she would continue to

cut herself if “this stuff keeps on going." ECF 16-15, at 52. L.R. stated that she

had never had sex before and that she was bleeding from her vagina. ECF 16-15,

at 52. Ms. Lopez told CPS that L.R. was lying, that she has lied before about

things like this and she is probably lying again. ECF 16-15, at 74. CPS informed

Ms. Lopez that semen was found in L.R. vagina and that it likely belonged to Mr.

Stubbs. ECF 16-15, at 74. Ms. Lopez responded that L.R. was probably having

sex with someone because L.R. has been caught before talking to an older man.

ECF 16-15, at 74. Ms. Lopez hugged L.R. and told her that when Mr. Stubbs gets

out of jail he will not be returning to their home and that it will just be Ms. Lopez

and the children and she will have no other men in her life. ECF 16-15, at 74, 78.

Ms. Lopez told CPS that she wanted to believe L.R. but that she has lied before

about these kinds of things. ECF 16-15, at 74. Ms. Lopez stated that she has been

trying to get rid of Mr. Stubbs for a long time because he does not work and lives

of her and her children’s money. ECF 16-15, at 74.

      L.R. had been seen at the CAC on two previous occasions, in 2009 for

sexual abuse by Ms. Lopez’s former boyfriend where L.R. made no outcry. ECF

16-15, at 73. The other previous occasion was in April 2105 where L.R. told her

counselor Mr. Stubbs had licked her vagina but when at the CAC L.R. gave no

outcry. ECF 16-15, at 73. There is a note relating to the April 2015 outcry of an

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Investigator Richard Searcy (Inv. Searcy) in which Inv. Searcy “advised during his

investigation [L.R.] said a boy at school made everything up because she didn’t

want to be his girlfriend.” ECF 16-15, at 72. Inv. Searcy went on to say that Ms.

Lopez said that the step-father was not in the home, and when he spoke to the step-

father he was in Wisconsin. ECF 16-15, at 72. L.R. was taken to the CAC for Inv.

Searcy’s investigation. ECF 16-15, at 72. This April 2015 outcry against Mr.

Stubbs was “ruled out” by CPS. ECF 16-15, at 75.

            3.     The Video Recantation and Facebook Posts

      There was other exculpatory evidence that was not made part of the record

until Mr. Stubbs’ later motion for new trial hearing. See, infra. Mr. Stubbs’ nice,

Trisha Caley (Ms. Caley) recorded on her phone while L.R. gave a verbal

recantation of the outcry against Mr. Stubbs. D.E. 48 (Defendant’s Exhibit 1). The

video is 3 minutes and 20 seconds long and shows L.R. holding a paper with an

apparent type-written paragraph.   D.E. 48 (Defendant’s Exhibit 1).     Ms. Caley

testified that while recording the video, L.R. had an actual statement printed out.

ECF 16-13, at 69. In the video L.R. states that Mr. Stubbs caught L.R. on a dating

site on her phone and that she was texting “so many guys” and Mr. Stubbs told her

to delete them or he would tell L.R.’s mother and she would never have a phone

again if she went on a dating site. D.E. 48 (Defendant’s Exhibit 1). L.R. goes on

to say that at school she was talking about how she was tired of Mr. Stubbs and he

was taking her mother’s attention. D.E. 48 (Defendant’s Exhibit 1). So her and

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her friend, L.F., went to the counselor and made a false statement and L.F.’s

boyfriend was in on it. D.E. 48 (Defendant’s Exhibit 1). L.R. also talked about

engaging in sexual activity with a male behind her house and her sister catching

her. D.E. 48 (Defendant’s Exhibit 1). L.R. said she blamed Mr. Stubbs for it. D.E.

48 (Defendant’s Exhibit 1). At the end of the video L.R. got teary and wanted to

say that Mr. Stubbs is a “good guy.” D.E. 48 (Defendant’s Exhibit 1). At the June

8, 2016 motion for new trial hearing Ms. Lake stated regarding this video:

          Ms. Lake:       However, that video recantation has never been provided

          to the State; hasn’t been filed as part of the Defense’s motion; hasn’t

          been summarized in any detail. We don’t know, what, if anything, it

          includes or how it could be authenticated.                     We don’t have any

          information really regarding the contents of that video recantation.

ECF 16-13, at 6.4

          On October 22, 2015, the day after Mr. Stubbs’ arrest, Ms. Lopez posted to

Facebook, “Yay I’m single thank god hell its worth it I don’t give a dam.” ECF

16-5, at 59. In an April 27, 2016 email, Ms. Lake wrote that Ms. Lopez admitted

to making that Facebook post which Ms. Lake received from defense counsel.

ECF 16-6, at 18.

                  4.      The Days After Mr. Stubb’s Release on Deferred

Adjudication

4   Clearly Mr. Pretzer had not discussed the video recantation with Ms. Lake.

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      On April 13, 2016, six days after the guilty plea, Mr. Stubbs signed an order

with the conditions of his supervision which included a heading entitled “SEX

OFFENDER SPECIAL CONDITIONS” which included 36 subparagraphs

detailing conditions related to sex offender restrictions. ECF 16-5, at 11. Two

days after signing the conditions of his supervision, on April 15, 2016, Mr. Stubbs

was arrested again in relation to allegations of violating the conditions of

supervision. ECF 16-5, at 32. The State filed a motion to revoke probation against

Mr. Stubbs alleging substantive offense of the unlawful possession of a firearm by

a felon, as well as, technical violations of possessing a firearm, and being present

at the residence of the L.R. ECF 16-5, at 36.

            5.     The First DPS Laboratory Report

      Then on May 2, 2016, the Texas Department of Public Safety (DPS) issued a

forensic biology report analyzing the items submitted from the SANE exam. ECF

16-15, at 158. This report shows no semen detected on any of the items tested,

including 10 swabs of the vaginal area. ECF 16-15, at 158.

            6.     The Revocation Proceedings

      On May 4, 2016, the trial court held a contested revocation hearing and Mr.

Stubbs was represented by new counsel, Donald Edwards (Mr. Edwards). The

State abandoned the unlawful possession of a firearm by a felon allegation in the

motion to revoke, Mr. Stubbs pled not true to the remaining allegations, and the

State put on its evidence.   ECF 16-11, at 5, 7. The State’s evidence included

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testimony that on April 15, 2016, a police officer searched the residence of Mr.

Stubbs where six adults where living and discovered a rifle on a shelf in a closet in

the room that Mr. Stubbs shared with another individual. ECF 16-11, at 14, 15, 17.

On April 13, 2016 (the same day Mr. Stubbs signed his conditions of supervision) a

CPS officer arrived at a new residence where L.R.’s mother was staying with her

new boyfriend (not Mr. Stubbs) and observed Mr. Stubbs at the residence. ECF

16-11, at 48, 58, 62.   Ms. Lopez told the CPS officer that Mr. Stubbs was at the

residence because Ms. Lopez invited him to the residence in order to return some

compact disks to her. ECF 16-11, at 51. The States also played recordings of jail

calls between Mr. Stubbs and Ms. Lopez after his April 15, 2016 arrest.          ECF

16-11, at 55.    As a result of these violations the Nueces County Probation

Department recommended a 90-day jail sanction and a zero tolerance policy on

supervision for Mr. Stubbs. ECF 16-11, at 66. Mr. Stubbs presented the testimony

of his niece that the rifle found in the closet belong to her boyfriend who also lived

in the trailer house where Mr. Stubbs was sharing a room. ECF 16-11, at 73. Mr.

Stubbs testified that L.R.’s mother called Mr. Stubbs and wanted him to bring

compact disks to her at her new boyfriend’s residence. ECF 16-11, at 89. Mr.

Stubbs did not know that Ms. Lopez or anyone else in her family lived at the

boyfriend’s residence and that he did not encounter anyone related to L.R. at the

residence. ECF 16-11, at 90.     Mr. Stubbs also testified that he did not know that

the rifle was in the closet and that he spent very little time in the room during the

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few days he was staying there after being released from jail. ECF 16-11, at 92,

100. The trial court found the allegation in the motion to revoke true, revoked Mr.

Stubb’s deferred adjudication probation and reset the case for punishment at a later

date. ECF 16-11, 112.

      At the May 6, 2016 punishment hearing, Mr. Stubbs ‘mother testified that

Mr. Stubbs has "mild dyslexia, geneo chorea (sic), astigmatism, mild cerebral

palsy” and “[h]e was special ed from the time he was in first grade.” ECF 16-12,

10. However, his niece testified that she did not believe Mr. Stubbs to be mentally

or physically impaired in any way. ECF 16-12, at 23. The trail court sentenced

Mr. Stubbs to concurrent 18-year prison sentences. ECF 16-12, at 36.

            7.     The Second DPS Laboratory Report

      On June 1, 2016, DPS issued its second lab report find that none of Mr.

Stubbs DNA was found on any of the swabs of L.R.’s vaginal and anal area. ECF

16-15, at 173.

            8.     The Motion for New Trial

      On May 9, 2016, Mr. Stubbs, through counsel, filed a motion for new trial

based on newly discovered evidence (a Facebook post by L.R.’s mother, a May 2,

2016 forensic report showing no semen, and a video of L.R. recanting the outcry).

ECF 16-5, at 59. Further, Mr. Stubbs argued that his plea was not knowing and

voluntary because he was not correctly admonished regarding the sex offender

registration and deferred adjudication probation, that he was not allowed to read

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the recantation letter or informed of the lack of semen on swabs from L.R. prior to

the plea. ECF 16-5, at 60. As well, Mr. Stubbs raised an ineffective assistance of

counsel claim with respect to his decision to plead guilty.        ECF 16-5, at 60.

Specifically, Mr. Stubbs argued that his trial counsel failed to properly review

discovery, explain rights prior to the plea, failed to explain the consequences of the

plea and the range of punishment upon revocation, “failed to discuss with the fact

that an injury and semen were noted on the alleged victim in an area in which she

did not claim the defendant touched her and swabs were not taken from that area,”

misinformed him regarding the length of sex offender registration, and failed to

play for Mr. Stubbs L.R.’s video recantation. ECF 16-5, at 60-62. Attached to the

motion for new trial was an affidavit of Mr. Stubbs. ECF 16-5, at 65, 66. In the

affidavit Mr. Stubbs states that the time he entered his plea that he was not aware

that “the forensic examination failed to show any presence of semen on the alleged

victim” and that he was misinformed that the sex offender registration would only

last the duration of this probation. ECF 16-5, at 65. Further, Mr. Stubbs stated that

his trial counsel, Mr. Pretzer, did not review the evidence with him in detail,

particularly the evidence relating to L.R.’s recantation. The affidavit states also

that Mr. Pretzer met with him “perhaps 4 times” from his arrest to the plea date.

He went over the admonishments in just a few minutes before he pleaded guilty

and that on the date of the plea Mr. Pretzer told Mr. Stubbs that the L.R.’s video

recantation was irrelevant or inadmissible. ECF 16-5, at 66. Mr. Stubbs stated that

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Mr. Pretzer told him his options were to spend around 8 years in prison or take

deferred adjudication probation, and that he did not understand how deferred

adjudication operated. ECF 16-5, at 66. The affidavit goes on to explain that Mr.

Stubbs would have not pleaded guilty and would have insisted on a trial:

     Had I known
     1) there were discrepancies in the physical evidence regarding [L.R.]
         showing trauma in an area in which she had not made an
         allegation against me about making contact as well as conflicts
         between the forensic exam showing no semen in areas [L.R.]
         claimed I contacted her with my penis but a medical report
         showing semen in an area she did not claim I contacted;
     2) [L.R.] made a full recantation in writing on January 26, 2016,
         with an explanation about her desire to separate me from her
         mother;
     3) [L.R.’s mother] celebrated my arrest on Facebook the day after I
         was arrested; and
     4) I would be required to register as a sex offender for life; then I
         would not have pleaded guilty but insisted on trial.
ECF 16-5, at 66.

      On June 8, 2016, the trial court held a hearing on Mr. Stubbs’ motion for

new trial with new counsel, attorney John Lamerson (Mr. Lamerson).            At the

hearing, State informed the trial court that the State had on the same day as the

hearing received the DPS DNA forensic report. ECF 16-13, at 13. Mr. Stubbs

testified during the hearing and reiterated what he wrote in his affidavit.    ECF

16-13, at 40-57.

      Mr. Stubbs testified that Mr. Pretzer never showed him any discovery except

for pressing a paper up against the glass at the jail. ECF 16-13, at 41. He stated

that Mr. Pretzer visited with him 5 times, maximum, for 5 to 10 minutes per visit.

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ECF 16-13, at 41, 45-46. Mr. Stubbs testified that he met with Mr. Pretzer roughly

50 to 75 minutes during his entire incarceration. ECF 16-13, at 46. With respect to

the inmate correspondence Mr. Stubbs had sent to the trial court, he said the

following:

      Mr. Stubbs: Yes, I had wrote the Judge about 140 something days in,

      stating that he wasn’t doing his job. He wasn’t answering my family

      [sic.] calls. He wasn’t answering my phone calls. He was not doing

      nothing. And I was trying to get pretrial probation or a bond hearing

      or something. Because at 145 days something should have already

      happened and I was still waiting on Mr. Pretzer to do something and

      he clearly wasn’t. And somebody from the Court wrote a response to

      him, “Randy, go se him ASAP.”

      Mr. Lamerson:      Had Randy actually seen you before that?

      Mr. Stubbs: I think that was the last time that I saw him. Was when

      he got that answer - response back.

ECF 16-13, at 63-64. Ms. Caley gave Mr. Pretzer two copies of the recantation

video probably a month before trial. ECF 16-13, at 43. Mr. Pretzer was given two

copies because he lost the original copy of the recantation video. ECF 16-13, at

50. Mr. Pretzer did not discuss the recantation video with Mr. Stubbs until he

received the second copy of the video on the day of his guilty plea. ECF 16-13, at

53. Mr. Stubbs had heard about the recantation video prior to the plea in speaking

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with his niece, Ms. Caley. ECF 16-13, at 54. Mr. Pretzer would not answer phone

calls from Mr. Stubbs and his family and would not return calls. ECF 16-13, at 55.

Ms. Caley testified during the hearing that she would call Mr. Pretzer “like five

times a day, would leave voice mails, never got any response.” ECF 16-13, at 68.

Ms. Caley was working as a de facto investigator and had video recorded her

interview with L.R. ECF 16-13, at 69.

      Ms. Caley: Yeah, I wanted to show him the video later on and when I

      came across it and then I wanted to show him the actual statement she

      printed out, but I never got a chance to.

ECF 16-13, at 69.

      Regarding the sex offender registration, Mr. Pretzer told Mr. Stubbs only

that he would have to register during the period of his probation. ECF 16-13, at

44. Mr. Pretzer did not go over the recantation with Mr. Stubbs other than that

there was a recantation. ECF 16-13, at 45. Mr. Stubbs testified that Mr. Pretzer

hardly spoke to him regarding the DNA and the status of the results. ECF 16-13, at

45. During the hearing Mr. Stubbs stated his belief that the report showed the DNA

came from another donor. ECF 16-13, at 45.

     Mr. Stubbs: It did say I was exonerated or…

ECF 16-13, at 45. Mr. Stubbs learned that there was going to be a plea on the day

he pled guilty when Mr. Pretzer spoke to him in the jury room that the State was

offering 8 years’ incarceration or 10 years probation.   ECF 16-13, at 45.    Mr.

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Pretzer did not want to take the case to trial. ECF 16-13, at 66. Mr. Pretzer rushed

Mr. Stubbs thought the plea admonishment paperwork.                 ECF 16-13, at 64.

Regarding the filling out of the plea admonishments:

      Mr. Stubbs: He went down the list and put an “x” and said initial

      everywhere there is an “x.”

      Mr. Lamerson:        Did he actually read it out to you or go through it

      with you?

      Mr. Stubbs: Not in its entirety, no.

      Mr. Lamerson:        How much do you think he went though with you?

      What percent?

      Mr. Stubbs: Maybe a quarter of it.

      Mr. Lamerson:        The rest of it he just said initial here, sign here?

      Mr. Stubbs: Yes.

 ECF 16-13, at 49.       The plea admonishments indeed show hand written “x’s”

throughout corroborating Mr. Stubbs’ testimony.           16-3, at 2-11.     Mr. Stubbs

believed that he would only have to register as a sex offender during the period of

his probation. ECF 16-13, at 44. Mr. Pretzer did not explain the significance of

deferred adjudication.     ECF 16-13, at 47.       Mr. Stubbs testified regarding his

decision the day of the guilty plea:

      Mr. Lamerson:        Do you recall the Court asking you about your

      representation by Mr. Pretzer?

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      Mr. Stubbs: Yes.

      Mr. Lamerson:         Do you recall telling the Court anything to indicate

      that you were not satisfied?

      Mr. Stubbs: At that point, I just wanted it over. And I thought I could

      get back to my life by accepting this probation and I was terribly

      wrong in that fact.

ECF 16-13, at 58.

      Regarding Mr. Stubbs’ desired outcome before the plea, he testified that

what he wanted was “pretrial probation,” to get out on bond. ECF 16-13, at 66.

      Ms. Lake:       When you make the guilty plea, were you under the

      impression that you were getting out on a pretrial probation and not

      pleading guilty?

      Mr. Stubbs: No. At that point, I was fed up with being in jail for

      something I didn’t do. I wanted my freedom back and my life back.

      With y’all offering the eight years, he said that was the best it was

      going to get.

ECF 16-13, at 66.

      Mr. Pretzer also testified at the motion for new trial that was resumed on

June 20, 2016. ECF 16-14, at 5. Mr. Pretzer estimated he met with Mr. Stubbs 4 -

5 times for 30 minutes to one hour per visit to give Mr. Stubbs status, inform him



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about various defenses, that to tell him they had not gotten the indictment or

discovery. ECF 16-14, at 5.

      Mr. Lamerson:       How many times in your estimation did you visit

      with Mr. Stubbs?

      Mr. Pretzer: Probably four, maybe five.

      Mr. Lamerson:       And about how long each time when you met him

      — or you met him in the jail, correct?

      Mr. Pretzer: Yeah, we talked extensively in the jail, and then I would

      come back and give him some status and talk to him about various

      defenses and the him that we haven’t gotten an indictment yet and I

      don’t have discovery, and so for and so on.

      Mr. Lamerson:       About how long you said about four times, about

      how long did you meet with him each time?

      Mr. Prezter: I would estimate between 30 minutes, maybe an hour.

ECF 16-14, at 5.

      Mr. Pretzer: And I think there were other times, too. I didn’t keep real

      tight notes on that… . So I aways tried to hell him: “I don’t have

      discovery,” this is the first thing I say. “The State doesn’t have a file.

      I don’t have a file. When I have something to tell you, I’ll come over

      here and we’ll talk about it.”



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ECF 16-14, at 6. Prior to the indictment Mr. Pretzer testified that he had filed

“motions” to reduce bond and that he thought they had several hearings on that.

ECF 16-14, at 6. The trial courts docket reflects no bond hearings prior to the only

one on March 21, 2016. ECF 16-6, at 81. Then Mr. Pretzer testified that he visited

with Mr. Stubbs 3 or 4 times after receiving discovery, “two or three times before

indictment” and stated that he does not talk about cases over the phone.         ECF

16-14, at 8. Mr. Pretzer stated that he conveyed the plea offer to Mr. Stubbs 2 to 3

weeks prior to the plea. ECF 16-14, at 9. Mr. Pretzer testified that he went over

the discovery with Mr. Stubbs “several times.” ECF 16-14, at 7.

      Mr. Lamerson:       You said you visited him three to four times total,

      correct?

      Mr. Pretzer: No, it was more than that, because there was some times

      before the indictment, I think two or three times before the indictment.

      Because, you know, we’d get a call from the phone, what’s going on,

      and I’d go over and see him and worked him into my schedule. And,

      afterwards when we were in the negotiations with the State there were

      more times, yeah.

ECF 16-14, at 9. Later Mr. Prezter stated that he could have visited Mr.

Stubbs for a five to ten minute period. ECF 16-14, at 29.

      Mr. Pretzer testified about “red flags” in the discovery regarding Mr. Stubbs’

sexual misconduct and referred to a previous outcry made against Mr. Stubbs by

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L.R. ECF 16-14, at 10. When Mr. Pretzer was asked about whether the family had

provided him with exculpatory social media posts, Mr. Pretzer responded that the

family should have shown that evidence to the State. ECF 16-14, at 12. Mr.

Pretzer said he only spoke to the mother and niece of Mr. Stubbs for 10-15

minutes. ECF 16-14, at 13. At this, the mother, who was present at the hearing,

shook her head obviously disapprovingly, to which Mr. Pretzer testified that he

wished they would leave. ECF 16-14, at 13.

      Mr. Lamerson:       To your knowledge, did Mr. Stubbs every send any

      correspondence to the court that you weren’t visiting him enough?

      Mr. Pretzer: Well, if he had, I hadn’t seen it. And as I explain to my

      clients since I have quite a few cases that if I have something to say I’l

      come by, I’m not going to hold you hand all the time. And I try to do

      that even with paying clients.

      Mr. Lamerson:       Did this court ever order you to go see Mr. Stubbs?

      Mr. Pretzer: Not that I know of.

      Mr. Lamerson:       Well, who else would know besides you?

      Mr. Pretzer: I don’t remember. I don’t remember having that kind of

      problem. The problem we had was getting the bond hearing set. But

      then the plea came in, the offer came in, and then the bond sort of

      went to the side.



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ECF 16-14, at 17.       With respect to the sex offender registration, Mr. Pretzer

explained that there is a procedure after the probation is complete, “something like

a risk management, risk assessment, and try to get off the registration.”       ECF

16-14, at 15. Regarding the DNA evidence that had not come in prior to the plea,

Mr. Pretzer testified what he told Mr. Stubbs. ECF 16-14, at 23.

      Mr. Pretzer: Yeah. I’m trying to remember, because we went back

      and forth on that. And I can just give you what I probably said, if you

      want me to really say in fact I said it or not, but if it came back

      negative, its would show possibly that the child may have been

      promiscuous and that could be a double-edged sword and swing on

      him, because that’s also take advantage of someone who was

      promiscuous.     So no matter where you turn, it’s like a minefield.

      You’ve got to be careful or you’re going to step and blow your leg off.

ECF 16-14, at 23. Mr. Prezter also stated that Mr. Stubbs was pushing for a plea

and that he spoke about probation from the beginning. ECF 16-14, at 23, 35.

      Mr. Pretzer: No, he was pushing for a plea. And then he spoke about

      probation from the beginning. And again I admonished him, I’m not

      going to get into that until I looked at discovery, talked with the

      prosecutor, talked with him, and several other matters.

ECF 16-14, at 23.

      Ms. Lake:     And he was actively pressing you to get an offer?

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      Mr. Pretzer: Yes, he was.

      Ms. Lake:    Was there a particular type of offer that he wanted?

      Mr. Pretzer: Probation. …. He discussed it with me the first time I met

      him.

ECF 16-14, at 35. On June 21, 2016 the trial court denied the motion for new trial

by written order without analysis. ECF 16-6, at 79.

             9.    The Direct Appeal

      Mr. Stubbs, though counsel, filed a direct appeal to the 13th Court of

Appeals of Texas again represented by Mr. Lamerson.         On appeal Mr. Stubbs

raised two primary points of error, the ineffective assistance of his trial counsel

resulting in an unknowing and involuntary plea, and the trial court’s error in

denying his motion for new trial. ECF 16-16, at 4. Specifically, Mr. Stubbs argued

that Mr. Pretzer did not adequately investigate the case or confer with Mr. Stubbs,

did not explain the importance of the DNA evidence, did not investigate Facebook

posts by L.R.’s mother, did not allow Mr. Stubbs to review L.R.’s recantation prior

to pleading guilty, did not adequately explain the nature of the plea bargain and

deferred adjudication. ECF 16-16, at 14-27.

      The 13th Court of Appeals of Texas (COA) affirmed the trial court’s denial

of Mr. Stubbs’ claims in his motion for new trial and the alleged ineffective

assistance of counsel. ECF 16-19, at 1. The COA dismissed Mr. Stubbs claims of

ineffective assistance of counsel “as reasonable credibility determinations that the

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trial court resolved in favor of the State,” and flaws there may have been in trial

counsel’s representation did not rise to the level of ineffective assistance of

counsel. ECF 16-19, at 15-18. As for the alleged error in denying the motion for

new trial the COA affirmed the trial court and opined that the alleged newly

discovered evidence did not meet the definition of “newly discovered evidence”

because it either was known to Mr. Stubbs prior to his plea of guilty (the video

recantation), Mr. Stubbs was not diligent in discovering the new evidence (DNA

analysis/results) because Mr. Stubbs decided to accept “the probabilities of his

proverbial roll of the dice,” or the newly discovered evidence would not have

“‘materially altered the outcome of the trial had it been made available’”

(Facebook post). ECF 16-19, at 21-22.

             10.    The Petition for Discretionary Review

       Mr. Stubbs, through appellate counsel, Mr. Lamerson, filed a petition for

discretionary review (PDR) with the Court of Criminal Appeals of Texas (CCA)

which was denied. ECF 16-31, at 141. Mr. Lamerson’s PDR raised the following

issues: ineffective assistance of counsel and that the trial court abused its discretion

in denying a new trial. ECF 16-26, at 3. Specifically, Mr. Pretzer did not allow

Mr. Stubbs to view the video recantation and advised the DNA results would do

harm no matter the results. ECF 16-26, at 14. Mr. Pretzer did not adequately:

confer with Mr. Stubbs, prepare the defense, investigate the facts and exculpatory

evidence, or explain the plea bargain offer, that the result of the proceedings would

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have been different but for Mr. Pretzer’s ineffective assistance of counsel, and that

Mr. Stubbs would not have pled guilty. ECF 16-26, at 17, 21, 23. The CCA denied

his petition for discretionary review without written findings.

             11.   The State Writ of Habeas Corpus

      Mr. Stubbs, pro se, filed a writ of habeas corpus in October 2016 which was

dismissed because he filed it too early, before the mandate from the COA issued.

ECF 16-27, at 1. Then, Mr. Stubbs, again pro se, filed his second, timely writ of

habeas corpus with the CCA in April 2018. ECF 16-31. Here Mr. Stubbs raises

following claims: actual innocence, ineffective assistance of counsel and as a result

his plea was not knowing or voluntary, there was insufficient evidence to support

his guilt, a Brady violation alleging the State’s failure to disclose exculpatory DNA

analysis/reports, double jeopardy, and excessive bail. ECF 16-31, at 8, 10, 11, 12,

14, 15, 24, 26, 29, 34. Specifically regarding his ineffective assistance of counsel

claim he argued: failure to adequately investigate, failure to adequately explain the

plea agreement and the consequences of the plea, provided misleading advice

regarding the DNA evidence, used coercion and scare tactics to get a plea deal

signed, did not adequately review the evidence with him, and failure to seek

modification of bail, that Mr. Pretzer was wrong about the sex offender registration

requirements. ECF 16-31, (generally).         Mr. Stubbs argued that is plea was not

knowing and voluntary, that the plea paperwork was defective and counsel did not

adequately review it with him and mislead him regarding the consequences of the

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plea and the nature of the evidence. ECF 16-31, at 13, 25. He further argued that

he would not have pled guilty but for his lawyers ineffective assistance of counsel.

ECF 16-31, at 23. Essentially, in the 36 pages of Mr. Stubbs’ pro se writ habeas

corpus, Mr. Stubbs raised at least the issues raised in the instant amended response.

ECF 16-31, at 1-36.

      In response to Mr. Stubbs’ writ of habeas corpus, the trial court issued its

findings of fact, conclusions of law, recommendation and order. ECF 16-31, at

142. The trial court found there was no necessity for an evidentiary hearing and

laid out its findings and conclusions. ECF 16-31, at 142. The trial found the

evidence does not affirmatively show Mr. Stubbs’ innocence, that counsel was not

ineffective and that his plea was not involuntary, that there was sufficient evidence

to support his conviction, that Mr. Stubbs failed to show prosecutorial misconduct

because he waived the error by failing to object in the trial court and raise the issue

on appeal, that the plea paperwork was not defective for failure to preserve the

issue and that he pled guilty to the three correct counts in the indictment, there is

no double jeopardy violation apparent on the record, and Mr. Stubbs’ excessive bail

claim is not a a claim for which habeas relief may be granted. ECF 16-31, at

142-143. The trial court’s findings of fact failed to address many of Mr. Stubbs’

claims. The CCA denied Mr. Stubbs’ writ of habeas corpus based on the findings

of the trial court. ECF 16-29.



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       Subsequent the CCA denial of the writ, Mr. Stubbs appealed again to the

CCA reiterating his previous claims. See, ECF 16-30, at 1-9.

             12.    The Instant Federal Writ of Habeas Corpus, 28 U.S.C. §

2254

       Next, Mr. Stubbs filed the instant writ of habeas corpus, via 28 U.S.C. §

2254 (the instant petition).    D.E. 1.    Mr. Stubbs specifically incorporates the

copious issues and arguments he raised in this State writ of habeas corpus. D.E. 1,

at 6, 8. Mr. Stubbs goes on to raise claims of: actual innocence, Fifth, Sixth and

Fourteenth Amendment due process violations, ineffective assistance of counsel

resulting in an unknowing and involuntary plea, insufficient evidence to support a

finding of guilt, that he did not receive a fair trial, and Mr. Stubbs expresses his

desire for reversal and a jury trial. D.E. 1,. At 6-7. The trial court erred in denying

his motion for new trial, actual innocence, no factual innocence, constitutional

violations, defective plea, double jeopardy, ineffective assistance of counsel are

other issues Mr. Stubbs reiterates in the instant petition. D.E. 1, 11-21 (generally).

             13.    The State’s Motion for Summary Judgment

       The State makes no issue of procedural default, exhaustion or statute of

limitations with respect to Mr. Stubbs’ claims in the instant petition. D.E. 20, at 4.

The State boils down Mr. Stubbs’ claims to four: (1) actual innocence, (2)

ineffective assistance of counsel due to Mr. Pretzer’s failure to explain deferred

adjudication and that DNA results would not be helpful, (3) no factual evince to

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support his conviction, (4) and a second ineffective assistance of counsel claim that

Mr. Pretzer “failed to correct the State’s use of false evidence of ‘sperm found.’”

D.E. 20, at 2. The State denies these four assertions and argues that his claims fail

since he has failed to demonstrate the trial courts decision was contrary to or

invoked the unreasonable application of federal law, or was based upon an

unreasonable determination in light of the facts presented. D.E. 20, at 2.

      The State argues Mr. Stubbs’ first claim, actual innocence, is no cognizable

via the writ of habeas corpus because he “has not shown an independent

constitutional violation.”   D.E. 20, at 8.   Essentially, the State relates that Mr.

Stubbs’ claim of innocence is based on the victim’s “inherently suspect”

recantation, “his own factual claims that the complainant recanted several times”

and exculpatory DNA evidence. D.E. 20, at 9. The State argues that Mr. Stubbs

failed to rebut the CCA’s presumed correct denial of this claim and that he failed to

show “‘it is more likely than not that no reasonable juror would have convicted

him.’” D.E. 20, at 8-9.

      As for Mr. Stubbs’ third and fourth claims, the State writes that because Mr.

Stubb’s plea was knowing and voluntary, he has waived his third and fourth claims.

D.E. 20, at 10.   Because a defendant need not be informed of all the possible

collateral consequences of a plea, and the fact that Mr. Stubbs signed the plea

admonishment paperwork and gave the appropriate answers during the plea

colloquy, the State argues his plea was knowing and voluntary. D.E. 20, at 12.

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      Mr. Stubbs’ second claim fails as well, says the State, again because a

voluntary plea waives Mr. Stubbs’ ineffective assistance of counsel claims. D.E.

20, at 17.   Further the State argues that Mr. Stubbs claim does not violate the

Strickland standard by reiterating the opinion of the COA in Mr. Stubbs’ direct

appeal. D.E. 20, at 19.

      Mr. Stubbs also filed a pro se response to the State’s motion for summary

judgment.

II.   The State’s Motion for Summary Judgment Fails and Mr. Stubbs Case

Merits Relief.

      The state’s motion for summary judgment fails because there is genuine

issue as to material facts in Mr. Stubbs’ case and the State is not entitled to

judgment as a matter of law. See, Fed. R. Civ. P. 56. Even if the Court decides the

State has presented a properly supported motion for summary judgment, Mr.

Stubbs herein proves the requisite significant probative evidence of a genuine issue

of material fact. See, Hamilton v. Segue Software, Inc., 232 F.ed 473, 477 (5th Cir.

2000). Mr. Stubbs rebuts by clear and convincing evidence the correctness of the

state courts’ factual findings. See, Smith v. Cockrell, 311 F.3d 661, 668 (5th Cir.

2002).

      A.     Ineffective Assistance of Counsel

      Mr. Stubbs demonstrates that there is a reasonable probability that, but for

Mr. Pretzer’s acts and omissions, Mr. Stubbs would not have pleaded guilty and

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would have insisted on going to trial.      See, Hill v. Lockhart, 474 U.S. 52, 98

(1985).     As laid out below, Mr. Pretzer’s specific acts or omissions, and the

accumulation of them, that were the result of unreasonable professional judgment.

Strickland v. Washington, 466 U.S. 668, 690 (1984). Mr. Pretzer’s work on Mr.

Stubbs’ case was incompetent under “prevailing professional norms.” Id. Further,

the state courts’ application of the Strickland standard to the facts of Mr. Stubbs’

case and Mr. Pretzer’s behavior was unreasonable. See, Harrington v. Richter, 562

U.S. 86, 101 (2011). In light of Mr. Stubbs’ case, no “fair-minded jurist could

agree” that the State court’s decision on Mr. Pretzer’s performance was correct. Id.

An appropriately thorough look at Mr. Stubbs’ claims demonstrates a reasonable

probability that, but for Mr. Pretzer’s errors, Mr. Stubbs would not have pleaded

guilty and would have pressed on seeking release on bond and ultimately elected to

try his case to a jury. See, Hill, 474 U.S. at 58-59.

             1.     The State Courts Were Clearly and Convincingly Incorrect

in Giving Mr. Prezter’s Testimony the Weight to Counter-Balance and Refute

Mr. Stubbs’ Claim of Substandard Performance.

      Mr. Prezter’s testimony at the motion for new trial hearing regarding his

performance representing Mr. Stubbs was unclear, inconsistent, and contrary to the

evidence.    Meanwhile Mr. Stubbs’ testimony during the motion for new trial

hearing was straight-forward, consistent, and corroborated by the evidence. The

state’s reliance on Mr. Pretzer’s specious testimony at the motion for new trial

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hearing as a counterweight to Mr. Stubbs’ allegations of ineffective assistance of

counsel was clearly and convincingly incorrect and, under the circumstances,

unreasonable.

      Mr. Stubbs was reticent that Mr. Pretzer visited with him “perhaps four

times” and five times, maximum for five to ten minutes per visit. See, supra. Mr.

Prezter did not review discovery with him, did not receive or return calls from him

or his niece who was working as the de facto investigator. See, supra. This is

corroborated by his two inmate correspondence forms, as well as, Ms. Caley’s

testimony. See, supra, infra. Mr. Stubbs said he was desperate for bond, he first

spoke to Mr. Pretzer about the plea offer on the day of the plea, and Mr. Pretzer

rushed him through the plea admonishments without an adequate explanation of

consequences of the plea. See, supra. The plea admonishments show the “x’s”

where to sign, evidence of rushed work, and the timeline of events coupled with

Mr. Pretzer’s own testimony further corroborates Mr. Stubbs’ testimony.       See,

supra, infra.

      Mr. Prezter’s testimony regarding the the timing and amount of time he

spent conferring with Mr. Stubbs was uncertain, and unbelievable in light of the

record. Mr. Pretzer testified he met with Mr. Stubbs “four, maybe five” times and

for 30 minutes to an hour each time. See, supra. Then Mr. Pretzer stated there

may have been other times and stated he may have made five to seven visits, and

there may have been a five to ten minute period.       See, supra.   Mr. Prezter’s

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testimony conveys an implausible, broad spectrum of time spent with Mr. Stubbs:

anywhere from two to seven hours.        Mr. Pretzer testified that during this pre-

indictment period he filed “motions” to reduce bond and they had several hearings

on that. See, supra. However, the record proves that he filed only one motion and

there was only one hearing that had any semblance of a bond hearing, months after

indictment. See, supra.

      Mr. Pretzer stated he talked “extensively” in the jail with Mr. Stubbs but

practically in the same breath he stated that he would tell Mr. Stubbs that he did not

have the discovery and that “I always tried to tell him… ‘When I have something

to tell you, I’ll come over here and we’ll talk about it.’” See, supra. Two to three

weeks prior to the guilty plea he conveyed the offer to Mr. Stubbs, says Mr.

Pretzer. See, supra. But, that would have been right around the time of the March

21 hearing where Ms. Lake announced that Mr. Pretzer had requested an offer and

Mr. Stubbs had still not received the indictment, again almost two months after the

grand jury indicted him, one month after the February 22 arraignment, and Mr.

Pretzer assured the trial court that “I will go over it with him.” See, supra. On

March 21, no one had spoken to the L.R., Mr. Pretzer had not reviewed the

indictment with Mr. Stubbs, there was no mention of the video recantation,

Facebook post, and the trial court seemed genuinely concerned about “getting to

the bottom” of the DNA        evidence and what L.R.’s wildly conflicting stories

meant. See, supra. This, along with Mr. Stubbs’ February 15 and March 1 inmate

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correspondence forms to the trial court, makes it clear Mr. Pretzer had not

reviewed any discovery with Mr. Stubbs by March 21. See, supra.

      With this in mind, we should return to Mr. Pretzer’s testimony that the only

problem with Mr. Stubbs’ case was getting the bond hearing set:

      Mr. Pretzer: … I don’t remember having that kind of problem. The

      problem we had was getting the bond hearing set. But then the plea

      came in, the offer came in, and then the bond sort of went to the side.

See, supra. It took Mr. Pretzer from October 26, 2015 to March 17, 2016 to file a

motion for bond reduction and to have a bond hearing on the already scheduled

March 21 pretrial hearing. The problem Mr. Pretzer refers to here in actuality was

his own unwillingness or inability to file a simple motion for bail reduction. This

is also significant because it discredits Mr. Pretzer’s testimony that Mr. Stubbs was

actively “pushing for a plea” and “probation from the beginning,” the first time Mr.

Pretzer met him. See, supra. No, Mr. Stubbs was pushing for bond — as he told

the court in his two desperate inmate correspondence forms.

      On the date of Mr. Stubbs’ long-awaited bond hearing, Mr. Pretzer, after a

perfunctory examination of Mr. Stubbs regarding his bond suitability and sua

sponte requesting to end the hearing, was requesting an offer from the State. See,

supra. Right around the time of this hearing, Mr. Pretzer says he got the offer Mr.

Pretzer was seeking — and Mr. Stubbs’ hopes for bond reduction — and his

defense — “sort of went to the side.” Mr. Pretzer was not even aware that Mr.

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Stubbs had sent the two desperate pleas for help to the trial court, despite the fact

that the trial court appears to have sent at least one of the correspondence forms

with a note to Mr. Pretzer to visit with Mr. Stubbs. See, supra.

      “‘When I have something to tell you, I’ll come over here and we’ll talk

about it,’” see, supra, clearly then, Mr. Pretzer would not have had “something” to

talk to Mr. Stubbs about until after the March 21 hearing. However, talking with

Mr. Stubbs about his defense, reviewing the discovery with him, getting Mr.

Stubbs released so he could defend himself from the outside, would have gone “to

the side” according to Mr. Pretzer once he got the State’s offer — right around

March 21. According to Mr. Pretzer then, Mr. Stubbs’ desperate hopes for a bond

reduction “went to the side” around a time when Mr. Stubbs had not even reviewed

the charging instrument, much less the discovery, and in the face of: “medical

findings” inconsistent with the outcry, L.R.’s inconsistent renditions of the manner

in which the assault occurred, two written recantations and a video recantation, two

previous unfounded outcries of sexual abuse spoken by L.R., one against Mr.

Stubbs when he may have been in Wisconsin, Ms. Lopez’s statement that L.R. was

lying about the abuse and had lied about it before, L.R. and outcry witness L.F.,

and other alleged outcry witnesses, evidently left uninterviewed, a Facebook post

of significant impeachment value, pending potentially, and in the end actually,

exculpatory DNA laboratory results when “the proof is right there in the swabs”

according to Mr. Stubbs.

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      Mr. Pretzer’s explanation of the potentialities of the pending DNA results

were categorized as “unartful” by the COA. However, in light of the totality of the

circumstances at the time, Mr. Pretzer's explanation to Mr. Stubbs was that the

DNA results would be unfavorable to Mr. Stubbs’ case no matter what.             The

outcome of the DNA tests was a “double-edged sword” and that somehow waiting

for the results was like a minefield likely “to blow your leg off.” See, supra. In

hindsight we know that Mr. Pretzer was wrong about his advice because the DNA

evidence came back favorable and exculpatory. But, even at the time, what was

being tested was not only whether Mr. Stubbs DNA would be found on the 14

swabs but, whether semen was actually discovered. What if there was no semen

found and no DNA from Mr. Stubbs? How could that possibility have any sort of

“double-edged sword — blow your leg off” quality to it? After all, Mr. Stubbs’

statement likely to have been presented at trial was “the proof is right there in the

swabs.” See, supra.      Here again, Mr. Pretzer’s substandard description of the

significance of the DNA further corroborates Mr. Stubbs’ claims of his

hopelessness while languishing in jail under the inactivity and fatalistic advice of

Mr. Pretzer.

      Mr. Pretzer’s testimony was generally correct regarding his explanation of

the sex offender requirements, i.e. that Mr. Stubbs’ deferred adjudication subjected

him to life-long sex offender registration, see, Tex. Crim. Proc. art. 62.101(a)(1),

and that there exists a procedure by which a person can motion the trial court for

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early termination of the obligation to register if they have an individual risk

assessment. See, Tex. Crim. Proc. art. 62.404. However, there are two important

things here: (1) what Mr. Stubbs understood in Mr. Pretzer's explanation and (2)

whether Mr. Pretzer was correct in describing the sex offender deregistration law.

Mr. Petzer’s performance failed on both. Mr. Stubbs claims and testified that he

understood Mr. Pretzer to mean that he positively would be able deregister as a sex

offender upon completion of his probation.       See, supra.   However, the more

disillusioning reality of Mr. Prezter’s performance is that Mr. Stubbs will never be

able to seek deregistration because Texas precludes those convicted under Tex.

Pen. Code Sec. 22.011 from deregistration because the Texas’s lifetime registration

requirement does not exceed the federal (under SORNA) lifetime registration

obligation. See, Deregistration Step-by-Step Guide, Texas Dept. of Health and

Human Services,         https://hhs.texas.gov/sites/default/files/documents/doing-

business-with-hhs/licensing-credentialing-regulation/csot/csot-deregistration-step-

by-step.pdf; see also, Ex parte Chamberlain, 352 S.W.3d 121,123 (Tex. App. Forth

Worth 2011); TDPS Deregistration Eligibility Chart 07-15-20, Deregister Texas,

https://www.deregistertexas.com/wp-content/uploads/2020/07/TDPS-

Deregistration-Eligibility-Chart.pdf . Not only did Mr. Pretzer’s explanation of the

sex offender registration duties poorly convey Mr. Pretzer’s own understanding of

the law, Mr. Pretzer’s explanation was contrary to the law.



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      Mr. Pretzer’s uncontrovertable acts and omissions are the following: it took

him almost six months to file a motion for bail reduction for a man who had been

desperate for bond, he did not pay any attention to Mr. Stubbs’ inmate

correspondence forms and the trial court’s suggestion to visit Mr. Stubbs, he

ignored Mr. Stubbs’ phone calls from the jail, he ignored his niece, Ms. Caley, who

was working as the only investigator and had obtained and preserved impactful

exculpatory evidence, he never gave the State the video recantation nor had he

“summarized in any detail” the video for Ms. Lake, he believed that Mr. Stubbs’

family should have given exculpatory evidence directly to the State and not to him,

he had not reviewed the indictment with Mr. Stubbs or even provided him with a

copy of it after almost two months of indictment, he was seeking an offer before

making the opportunity to review discovery with Mr. Stubbs, he was at the very

least “unartful” in discussing the potentialities of the DNA results, he believed that

once he obtained the offer that Mr. Stubbs’ quest for pretrial release was moot, he

gave a cursory summary of the plea admonishments including the nature of

deferred adjudication, and was dead-wrong regarding Mr. Stubbs’ sex offender

deregistration possibilities.

      All of these factors weight heavily in favor of disregarding Mr. Pretzer’s

testimony generally, and especially regarding the time he spent with Mr. Stubbs,

that he met extensively with him and reviewed the discovery with him several

times, and that Mr. Stubbs was wanting to plead guilty to a probation offer the

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whole time.     Mr. Stubbs’ written pleadings and his testimony during the motion

for new trial appears to be unimpeached, his claims have been consistent

throughout, and he is the more credible witness regarding the inadequacies of Mr.

Pretzer’s performance. Under the circumstances, Mr. Stubbs found himself in an

impossible situation. He wanted bond to fight his case from the outside. However,

with an attorney who was doing “nothing” for him and who had so easily

dispensed with the presumption of innocence and his duty as his attorney, after

about six months in custody, Mr. Stubbs only perceived recourse was to “get back

my life by accepting this probation.”

      Therefore, the State courts clearly and convincingly were incorrect in their

assessment of Mr. Pretzer’s credibility to counter-balance Mr. Stubbs’ claims that

are supported by the record.       Mr. Stubbs has rebutted the presumption of

correctness with respect to the State courts’ explicit and implicit findings of fact.

See, Garcia v. Quarterman, 454 F.3d 441, 444 (5th Cir. 2006).

              2. The State Courts' Decisions Were Contrary to, or Involved an

Unreasonable Application of, Clearly Established Federal Law, and Resulted

in a Decision that was Based on an Unreasonable Determination of the Facts

in Light of the Evidence.

       The State court’s incorrect reliance on Mr. Pretzer’s testimony to dismiss

Mr. Stubbs’ claims and testimony as “reasonable credibility determinations” in

favor of the State, allows this Court to consider Mr. Stubbs’ unimpeached claims

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and testimony in addition to the uncontrovertable acts and omissions stated above.

Mr. Pretzer led him to believe he would only have to register for the period of

probation. See, supra. Mr. Pretzer informed Mr. Stubb’s of the plea offer on the

day of the plea. See, supra. What Mr. Stubbs wanted throughout his entire pretrial

detention was to be released on bond, and not to plead guilty. See, supra. Mr.

Pretzer said that deferred adjudication probation was “as good as it was going to

get.” See, supra. Mr. Pretzer never reviewed the discovery with Mr. Stubbs in any

meaningful way.        See, supra.     Mr. Pretzer lost the first copy of the video

recantation given to him by Ms. Caley. See, supra. Mr. Pretzer did not discuss the

video recantation until the day of the plea. See, supra. Mr. Pretzer did not explain

the significance of deferred adjudication. See, supra. Mr. Prezter met with Mr.

Stubbs 50 to 75 minutes during the case. See, supra.

         In order to prevail on a claim of ineffective assistance of counsel, Mr. Stubbs

must show that Mr. Pretzer’s performance was deficient. Strickland, at 687. Mr.

Stubbs must also demonstrate that the deficient performance prejudiced his defense

and that Mr. Pretzer’s errors were so serious so as to deprive Mr. Stubbs of a fair

trial.   Id.    This Strickland analysis applied in the contest of guilty pleas and

prejudice is established where there is a reasonable probability that, but for

counsel’s errors, he would not have pleaded guilty and would have instead insisted

on going to trial. Hill v. Lockhart, 474 U.S. 52, 58-59 (1985).



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      “Reasonableness under prevailing professional norms” is the measure.

Strickland, at 694.    The mission of a the lawyer for a defendant is vigorous

advocacy of the defendant’s cause. Id. “The performance inquiry must be whether

counsel’s assistance was reasonable considering all the circumstances.” Strickland,

at 694. The idea is to reconstruct the circumstances from counsels’ perspective at

the time. Id. Counsel must make reasonable investigations unless a reasonable

decision was made not to investigate.    Id., at 695. The ABA Standards are guide

to assist the court in determining what is reasonable. Id.

      Current and pertinent ABA Standards for criminal defense attorneys are as

follows:

     Standard 4-1.3 Continuing Duties of Defense Counsel
     (d) a duty to communicate and keep the client informed and advised of
     significant developments and potential options and outcomes
     (e) a duty to be well-informed regarding the legal options and
     developments that can affect a client’s interests during a criminal
     representation
     (f) a duty to continually evaluate the impact that each decision or
     action may have at later stages, including trial, sentencing, and post-
     conviction review
     (h) a duty to consider the collateral consequences of decisions and
     actions, including but not limited to the collateral consequences of
     conviction

     Standard 401.9 Diligence, Promptness and Punctuality
     (a) Defense counsel should act with diligence and promptness in
     representing a client, and should avoid unnecessary delay in the
     disposition of cases.
     (e) Defense counsel should be punctual in attendance at court, in the
     submission of motions, briefs, and other papers, and in dealings with
     opposing counsel, witnesses and others.


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Standard 4-3.2 Seeking a Detained Client’s Release from Custody, or
Reduction in Custodial Conditions
(a) In every case where the client is detained, defense counsel should
discuss with the client, as promptly as possible, the client’s custodial or
release status and determine whether release, a change in release
conditions, or less restrictive custodial conditions, should be sought.

Standard 4-4.1 Duty to Investigate and Engage Investigators
(a) Defense counsel has a duty to investigate in all cases, and to
determine whether there is a sufficient factual basis for criminal
charges.
(c) Defense counsel’s investigative efforts should commence promptly
and should explore appropriate avenues that reasonably might lead to
information relevant to the merits of the matter, consequences of the
criminal proceedings, and potential dispositions and penalties.
Although investigation will vary depending on the circumstances, it
should always be shaped by what is in the client’s best interests, after
consultation with the client. Defense counsel’s investigation of the
merits of the criminal charges should include efforts to secure relevant
information in the possession of the prosecution, law enforcement
authorities, and others, as well as independent investigation. Counsel’s
investigation should also include evaluation of the prosecution’s
evidence (including possible re-testing or re-evaluation of physical,
forensic, and expert evidence) and consideration of inconsistencies,
potential avenues of impeachment of prosecution witnesses, and other
possible suspects and alternative theories that the evidence may raise.

Standard 4-4.3 Relationship With Witnesses
(c) Defense counsel or counsel’s agents should seek to interview all
witnesses, including seeking to interview the victim or victims, and
should not act to intimidate or unduly influence any witness.

Standard 4-5.1 Advising the Client
(e) Defense counsel should provide the client with advice sufficiently
in advance of decisions to allow the client to consider available
options, and avoid unnecessarily rushing the accused into decisions.
(f) Defense counsel should not intentionally understate or overstate the
risks, hazards, or prospects of the case or exert undue influence on the
client’s decisions regarding a plea.

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Standard 4-5.4 Consideration of Collateral Consequences
(a) Defense counsel should identify, and advise the client of, collateral
consequences that may arise from charge, plea or conviction. Counsel
should investigate consequences under applicable federal, state, and
local laws, and seek assistance from others with greater knowledge in
specialized areas in order to be adequately informed as to the existence
and details of relevant collateral consequences. Such advice should be
provided sufficiently in advance that it may be fairly considered in a
decision to pursue trial, plea, or other dispositions.

Standard 4-6.1 Duty to Explore Disposition Without Trial
(b) In every criminal matter, defense counsel should consider the
individual circumstances of the case and of the client, and should not
recommend to a client acceptance of a disposition offer unless and
until appropriate investigation and study of the matter has been
completed. Such study should include discussion with the client and an
analysis of relevant law, the prosecution’s evidence, and potential
dispositions and relevant collateral consequences. Defense counsel
should advise against a guilty plea at the first appearance, unless, after
discussion with the client, a speedy disposition is clearly in the client’s
best interest.

Standard 4-6.2 Negotiated Disposition Discussions
(c) Defense counsel should ensure that the client understands any
proposed disposition agreement, including its direct and possible
collateral consequences.
(d) Defense counsel should not recommend to a defendant acceptance
of a disposition without appropriate investigation. Before accepting or
advising a disposition, defense counsel should request that the
prosecution disclose any information that tends to negate guilt,
mitigates the offense or is likely to reduce punishment.
Standard 4-6.3 Plea Agreements and Other Negotiated Dispositions
(e) Defense counsel should investigate and be knowledgeable about
sentencing procedures, law, and alternatives, collateral consequences
and likely outcomes, and the practices of the sentencing judge, and
advise the client on these topics before permitting the client to enter a
negotiated disposition. Counsel should also consider and explain to the
client how specific terms of an agreement are likely to be
implemented.

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ABA Criminal Justice Standards for the Defense Function (4th ed. 2017). Mr.

Pretzer’s performance in Mr. Stubbs’ case violates each one of the above standards

set by the ABA.

      Mr. Stubbs argues that Mr. Pretzer’s failure to adequately explain the

consequences of deferred adjudication and the sex offender registration law as

applied to him are independent grounds for finding Mr. Pretzer ineffective. See,

Lee v. United States, 137 S.Ct. 1958 (2017)(lawyer ineffective for misrepresenting

deportation consequences, and it was not irrational to reject the plea deal when

there was some chance to void deportation, however remote); Tovar Mendoza v.

Hatch, 620 F.3d 1261 (10th Cir. 2010)(Counsel ineffective for making blatant and

significant misrepresentations regarding the sentence the petitioner would receive

if he entered a no contest plea.); Bauder v. Dept.of Corrections, State of Florida,

619 F.3d 1272 (11th Cir. 2010)(lawyer ineffective for misinforming petitioner that

his no contest plea would not expose him to subsequent sexually violent predator

civil commitment proceedings). Mr. Stubbs also argues that Mr. Prezter’s failure

to appropriately investigate the potential (and in the end actual) exculpatory

evidence is another independent ground for finding Mr. Pretzer ineffective.

Kimmelman v. Morrison, 477 U.S. 365, 385-91 (1986)(lawyer ineffective for

failing to conduct pretrial discovery and file a motion to suppress); Roberts v.

Howton, 13 F.Supp. 3d 1077 (D. Ore. 2014)(lawyer ineffective for relying on


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state’s representation of the evidence without adequately investigating. Lawyer’s

conduct was “particularly troubling” in light of the fact that that state’s

representation was “preliminary.”). As well, he believes that Mr. Pretzer’s failure

to adequately explain the nature of and potential consequences of the pending DPS

reports is yet another independent basis for finding ineffective assistance of

counsel.   See, Heard v. Addison, 728 F.3d 1170 (10th Cir. 2013)(counsel was

ineffective in lewd molestation case for failing to recognize a likely defense before

advising the defendant to plead guilty and in failing to advise the defendant of the

possibility of filing an appeal following the plea.).

      However, Mr. Stubbs’ strongest argument is the inquiry of whether Mr.

Pretzer’s “assistance was reasonable considering all the circumstances.”        See,

Strickland, at 694. It is the cumulative nature of Mr. Pretzer’s act and omissions

that demonstrates the deficiency in his lawyering and the resulting prejudice. Mr.

Prezter’s substandard performance that led him to accept a plea deal and that, but

for the accumulation of Mr. Prezter’s acts and omissions, rendering Mr. Stubbs

hopeless before the trial court, Mr. Stubbs would not have pled guilty.

      Therefore, the the State courts' decisions were contrary to, or involved an

unreasonable application of, clearly established federal law, and resulted in a

decision that was based on an unreasonable determination of the facts in light of

the evidence. In light of Mr. Stubbs’ case, no “fair-minded jurist could agree” that

the State court’s decision on Mr. Pretzer’s performance was correct. Id.         An

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appropriately thorough look at Mr. Stubbs’ claims demonstrates a reasonable

probability that, but for Mr. Pretzer’s errors, Mr. Stubbs would not have pleaded

guilty and would have pressed on seeking release on bond and ultimately elected to

try his case to a jury. See, Hill, 474 U.S. at 58-59.

      B.     As the Result of Mr. Pretzer’s Ineffective Assistance of Counsel

Mr. Stubbs Guilty Plea Was Not Knowing or Voluntary

      Mr. Stubbs may attack the voluntariness of his plea when counsel did not

provide him with reasonably competent advice. Cuyler v. Sullivan, 446 U.S. 335,

344 (1980), see also, Tollett v. Henderson, 411 U.S. 258, 267-268 (1973). As

argued above, Mr. Pretzer’s performance that led to Mr. Stubbs’ guilty plea was

legally ineffective, and; therefore, Mr. Stubbs’ plea was not knowing or voluntary.

      C.     Actual Innocence

      A colorable showing of actual innocence functions as a gateway to excuse

procedural default of available state remedies.         Schulp v. Delo, 513 U.S. 289,

314-315 (1995). Such a colorable showing of actual innocence may be established

in the context of a guilty plea. Bousely v United States, 523 U.S. 614, 624 (1998).

Aside from the gateway function an actual innocence claim is a ground for federal

habeas relief if there is an independent constitutional violation. Herrera v. Collins,

506 U.S. 390 (1993).

      In light of new evidence, “no juror, acting reasonably, would have voted to

find him guilty beyond a reasonable doubt.” Schulp, 513 U.S. at 329. In this case

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there was new evidence, namely all the evidence that came to light after Mr.

Stubbs pled guilty: both DPS forensic reports and the Facebook post. Mr. Pretzer

was ineffective, and his ineffective assistance of counsel caused Mr. Stubbs’ plea to

be unknowing and involuntary. Therefore, Mr. Stubbs’ new evidence claim should

not fail because he failed to show due diligence in waiting for the DPS forensic

reports to arrive or to discover the Facebook post.

      As discussed above, the exculpatory and favorably impeaching evidence in

this case was substantial: the “medical findings” were inconsistent with the outcry,

L.R. made inconsistent renditions of the manner in which the assault occurred,

there were two written recantations and a video recantation in which L.R.

explained her motive for lying, two previous unfounded outcries of sexual abuse

spoken by L.R., one against Mr. Stubbs when he may have been in Wisconsin, Ms.

Lopez stated that she believed L.R. way lying about the abuse, there was a

Facebook post of significant impeachment value, and the exculpatory DNA

laboratory results supporting Mr. Stubbs’ denial: “the proof is right there in the

swabs.”   See, supra.    Mr. Stubbs’ case presents a colorable showing of actual

innocence such that no reasonably acting juror would have found him guilty

beyond a reasonable doubt.     Therefore, Mr. Stubbs has established a gateway to

excuse procedural default, if the Court should find any. Also, with the independent

constitutional violation in Mr. Pretzer’s ineffective assistance of counsel, actual

innocence serves as a ground for federal habeas relief.

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                                             Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      I, Stephen Byrne, certify that on the 27th day of April 2021, a copy of the

foregoing notice was served via electronic notification to Jessica Manojlovich,

Assistant Texas Attorney General, Austin, Texas.

                                      s/Stephen W. Byrne
                                     STEPHEN W. BYRNE




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